Where the State Board of Workmen's Compensation makes a finding of fact which is supported by the evidence, such finding is conclusive and will not be reversed, although the board has made other findings of fact not essential to the judgment in the case and not authorized by the evidence.
       No. 14974. NOVEMBER 14, 1944. REHEARING DENIED DECEMBER 4, 1944.
Mrs. James T. Sisson, as guardian of her husband, James T. Sisson, filed with the State Board of Workmen's Compensation a claim for compensation on account of an alleged injury to him. In 1941, while in the employ of Union Manufacturing Company, Sisson received an injury to his head by an accident which was compensable under the workmen's compensation statute, and compensation was paid to him during his disability and until his return to work. After returning to work he continued regularly for *Page 624 
approximately fifteen months and killed a negro and was then adjudged insane and committed to a State institution. This claim for compensation is based upon the contention that the insanity with which Sisson is now suffering is the result of the head injury. Upon a hearing before a director, considerable evidence was introduced, some of which would sustain the claim and other portions of which would defeat the claim. Two physicians testified that his insanity was in no wise connected with the head injury. One physician testified that it was the result of the head injury. There was evidence to the effect that subsequently to his injury and prior to his being adjudged insane he manifested in different ways a mental unbalance or weakness. On the other hand, there was evidence introduced showing that as far back as 1939 he manifested mental weakness or mental unbalance. It was also shown by evidence that both of his parents had been insane. The employer sought to prove that his wife had confessed infidelity and that this was known to him and caused his mental disturbance. On the hearing, the wife while testifying refused to answer the inquiry as to whether she had so confessed, basing her refusal upon the ground that her answer might incriminate her. Also, while the lady to whom it was contended the confession was made was testifying, it was sought to have her answer whether or not such confession had been made, but she was prevented from answering upon the ground that such testimony would be divulging confidential communications. There was evidence to the effect that gossip and rumor in the community were widespread and general that she had made such a confession and that the husband was aware of this rumor and gossip and was mentally disturbed thereby.
The director found as a fact that both sides had produced evidence in support of their respective positions. He found also that it had been shown that the wife had confessed to infidelity which was known to the husband and that it caused him much worry and anxiety. The director found that the claim for compensation had not been sustained by a preponderance of the evidence, and that the disability suffered by Sisson at the hearing was not caused by the head injury in 1941, and denied the claim for compensation. The finding of the director was reviewed and affirmed by the full board, and on appeal the award of the board was affirmed by the superior court, and on review of the judgment of the superior court the *Page 625 
Court of Appeals reversed the same and the case is in this court by certiorari.
The finding by the board that the disability for which compensation was sought did not result from the injury received while the claimant was employed in 1941 is supported by the evidence in this record. That finding made the award disallowing compensation mandatory. The opinion of the Court of Appeals apparently concedes that the judgment of the board is amply supported by the evidence, but the reversal by that court is planted squarely upon the proposition that the unauthorized finding by the board that the wife had confessed infidelity affected the board's final finding adversely to the claimant, and under the authority of Wilson v. Swift  Co.,68 Ga. App. 701 (23 S.E.2d 261), should be reversed. The Court of Appeals, in Peninsular Life Ins. Co. v. Brand,57 Ga. App. 526 (196 S.E. 264), correctly stated, we think, that "one or more of the facts found, even if erroneously found, does not necessarily mean that the finding as to the ultimate fact is harmful error." That decision would require that the finding of the board be affirmed if there is evidence to sustain the same, notwithstanding there might be a number of unnecessary finding of fact which are not supported by the evidence. The legislature has clearly defined the procedure in workmen's compensation claims. Code, § 114-710. It is there declared that the board's findings on disputed issues of fact are final and controlling except in cases of fraud, and provided that the court shall be authorized to set aside an order or decree of the board in the following five instances, to wit: "(1) The directors acted without or in excess of their powers; (2) the order or decree was procured by fraud; (3) the facts found by the directors do not support the order or decree; (4) there is not sufficient competent evidence in the record to warrant the directors in making the order or decree complained of; or that (5) the order or decree is contrary to law." It is then declared that, "No order or decree of the department shall be set aside by the court upon any grounds other than one or more of the grounds above stated." This court has repeatedly ruled that when the findings of fact by the board are supported by any evidence they are conclusive and must be affirmed *Page 626 
by the court. Georgia Casualty Co. v. Martin, 157 Ga. 909,915 (122 S.E. 881); Maryland Casualty Co. v. England,160 Ga. 810, 812 (129 S.E. 75); Montgomery v. Maryland CasualtyCo., 169 Ga. 746 (151 S.E. 363); Maryland Casualty Co. v.Sanders, 182 Ga. 594 (186 S.E. 693); Fried v. UnitedStates Fidelity  Guaranty Co., 192 Ga. 492, 493 (15 S.E.2d 704). On application of these principles of law to the record in this case, the trial court properly affirmed the finding of the board, and the Court of Appeals erred in reversing the judgment of the trial court.
Judgment reversed. All the Justices concur.